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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3054
                                     )
           v.                        )
                                     )
FEDERICO BALLI, DEBORAH V.           )         MEMORANDUM AND ORDER
VASQUEZ,                             )
                                     )
                Defendants.          )
                                     )


     Pursuant to Rule 17.1 of the Federal Rules of Criminal
Procedure, a fourth telephonic conference was held with counsel
this date to discuss the status of defendant Balli’s ongoing
health problems and the progression of this case.             All counsel
agree that another telephone conference should be held later when
defendant Balli’s condition and prognosis are better known.

     IT THEREFORE HEREBY IS ORDERED,

     1.    The case continues to be exempted from the Speedy Trial
           Act.

     2.    Another telephone conference with counsel will be held
           April 30, 2008 at 12:00 p.m (noon) Central Time for the
           purpose of further reviewing the case and perhaps
           setting a trial date. Plaintiff’s counsel shall
           initiate the call.


     DATED this 27th day of February, 2008.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
